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 7
                                  UNITED STATES DISTRICT COURT
 8
                               SOUTHERN DISTRICT OF CALIFORNIA
 9
      UNITED STATES OF AMERICA,                    Case No. 20CR2887-WQH
10
           v.
11                                                 PLEA AGREEMENT
     ANTHONY DUANE BELL, JR.          (2),
12

13                   Defendant.

14
          IT    IS    HEREBY   AGREED    between    the   plaintiff,   UNITED   STATES   OF
15
     AMERICA, through its counsel, Randy S. Grossman, United States Attorney,
16
     and Valerie H. Chu and Christopher Alexander, Assistant United States
17
     Attorneys, and Defendant ANTHONY DUANE BELL,             JR., with the advice and
18
     consent of Keith Rutman, Esq., counsel for Defendant, as follows:
19
                                                I
20
                                             THE PLEA
21
          Defendant agrees to plead guilty to Count 32 of the Indictment
22
     charging Defendant with:
23
          On or about April 9, 2019, within the southern District of
24        California and elsewhere, defendant ANTHONY DUANE BELL, JR.
25        in a matter within the jurisdiction of the Federar Bureau of
          investigation ("FBI"), a department and agency of the United
26        States, did knowingry and willfully make a materially false,
          fictitious and fiaudulent statement,      in that defendant
27        informed FBI Specia] Agent T. Townsend that he had never heard
          of a company called "PA Healthcare," whereas in truth and
28        fact, as defendant then and there well knew, that statement

      Plea Agreement                                                Def. I n i t i a l s ~
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            and representation was false, fictltious and fraudufent when
 1          made; in violation of Title 18, United States Code, Section
            1001.
 2
            The Government agrees to (1) move to dismiss the remaining charges
 3
     without     prejudice     when       Defendant             is   sentenced,       (2)   not   prosecute
 4
     Defendant     thereafter        on    such       dismissed           charges      unless     Defendant
 5
     breaches the plea agreement or the guilty plea entered pursuant to this
 6
     plea   agreement    is    set    aside    for        any        reason,   and    (3)   not   prosecute
 7
     Defendant for filing two false Payroll Protection Program applications
 8
     on April 17 and 21,           2021 unless Defendant breaches the plea agreement
 9
     or the guilty plea entered pursuant to this plea agreement is set aside
10
     for any reason. If Defendant breaches this agreement or the guilty plea
11
     is set aside, section XII below shall apply.
12
            In   addition,    the     attached         financial          addendum      shall     govern   the
13
     financial penalties in this case.
14
            This plea agreement is part of a npackage" disposition as set forth
15
     in Section VI.E below.
16
                                                         II
17
                                       NATURE OF THE OFFENSE
18
            A.    ELEMENTS EXPLAINED
19
            The offense to which Defendant is pleading guilty has the following

                                                                                                      ~~
20
     elements:
21
                  1.   The defendant ma~ a                 fal 1 e, statement/' I;., a matter within             -
22
     the    jurisdiction      of    the
                                               f:' .f) cfJJ f
                                           Ce..nter
                                                            o.-{      n
                                                                     v / ~ ,.._.,; o J,,v Vt'( -4i qv \- l Cr
                                                          of Medi care aod Medioaid .Sorvi ces
23
     ("CHS") 1
24
                  2.    The defendant acted willfully; that is, deliberately and
25
     with knowledge both that the statement was untrue and that his conduct
26
     was unlawful; and
27

28

     Plea Agreement
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 1               3.      The     statement    was       material      to   the   activities     or

 2
                           ~.c
     decisions of t h e ~ that is, it had a natural tendency to influence,

 3   or was capable of influencing, the agency's decisions or activities.

 4        B.     ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS

 5        Defendant has fully discussed the facts of this case with defense

 6   counsel.   Defendant has committed each element of the crime and admits

 7   that there is a factual basis for this guilty plea. The following facts·

 8   are true and undisputed:

 9               1.      On or about April 9, 2018, Defendant Anthony Duane Bell,

10                       Jr.    was interviewed by Special Agents of the FBI,                  who

11                       were      investigating         Universal         Medical     Solutions,

12                       Defendant's company.

13               2.      In response to a direct question, Defendant told Special

14                       Agent    Townsend that         he    had never heard of       a   company

15                       called "PA Healthcare."

16               3.      In truth and in fact,           Defendant knew that he had heard

17                       of PA Healthcare.

18               4.      Defendant acted willfully in making his false statement;

19                       that    is,     deliberately         and   with   knowledge    that   the

20                       statement was untrue and his conduct was unlawful.

21               5.      The false statement was material to the activities of

22                       the FBI in conducting its investigation.

23                                               III

24                                           PENALTIES

25        The   crime     to     which    Defendant      is    pleading    guilty    carries   the

26   following penalties:

27        A.     a maximum 5 years in prison,

28

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 1        B.    a maximum $250,000 fine;

 2        C.    a mandatory special assessment of $100 per count; and

 3        D.    a   term of supervised release of up to 3 years.         Failure to

 4              comply with any condition of supervised release may result in

 5              revocation   of   supervised    release,   requiring   Defendant   to

 6              serve in prison, upon revocation, all or part of the statutory

 7              maximum term of supervised release.

 8                                       IV
                       DEFENDANT'S WAIVER OF TRIAL RIGHTS AND
 9                         UNDERSTANDING OF CONSEQUENCES

10        This guilty plea waives Defendant's right at trial to:

11        A.    Continue to plead not guilty and require the Government to

12              prove the elements of the crime beyond a reasonable doubt;

13        B.    A speedy and public trial by jury;

14        C.    The assistance of counsel at all stages;

15        D.    Confront and cross-examine adverse witnesses;

16        E.    Testify and present evidence and to have witnesses testify on

17              behalf of Defendant; and,

18        F.    Not   testify or have any adverse      inferences drawn from the

19              failure to testify.

20
                                            V
21
                  DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
22        PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION
23        Any information establishing the factual         innocence of Defendant

24   known to the undersigned prosecutor in this case has been turned over

25   to Defendant. The Government will continue to provide such information

26   establishing the factual innocence of Defendant.

27

28

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 1        If this case proceeded to trial, the Government would be required

 2   to provide impeachment information for its witnesses.                     In addition,                      if

 3   Defendant    raised   an    affirmative       defense,   the    Government             would                be

 4   required to provide information in its possession that supports such a

 5   defense.    By   pleading    guilty   Defendant      will      not   be    provided                     this

 6   information, if any, and Defendant waives any right to this information.

 7   Defendant will not attempt to withdraw the guilty plea or to file a

 8   collateral attack based on the existence of this information.

 9                                             VI
10                      DEFENDANT'S REPRESENTATION THAT GUILTY
                            PLEA IS KNOWING AND VOLUNTARY
11
          Defendant represents that:
12
          A.     Defendant has had a full opportunity to discuss all the facts
13               and circumstances of this case with defense counsel and has
                 a clear understanding of the charges and the consequences of
14               this plea. By pleading guilty, Defendant may be giving up,
                 and rendered ineligible to receive,      valuable government
15               benefits and ci vie rights, such as the right to vote, the
                 right to possess a firearm, the right to hold office, and the
16               right to serve on a jury. The conviction in this case may
                 subject   Defendant   to  various  collateral   consequences,
17               including but not limited to revocation of probation, parole,
                 or supervised release in another case;        debarment from
18               government contracting; and suspension or revocation of a
                 professional license, none of which can serve as grounds to
19               withdraw Defendant's guilty plea.

20        B.     No one has made any promises or offered any rewards in return
                 for this guilty plea, other than those contained in this
21               agreement or otherwise disclosed to the Court.
22        C.     No one has threatened Defendant              or    Defendant's          family                 to
                 induce this guilty plea.
23
          D.     Defendant is pleading guilty because Defendant is guilty and
24               for no other reason.

25        E.     The disposition contemplated by this agreement is part of a
                 "package" disposition with codefendant ANTHONY DUANE BELL,
26               SR. If any defendant in the package fails to perform or
                 breaches any part of their agreement, no defendant can
27               withdraw their guilty plea, but the Government is relieved
28

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                from and not bound by any terms in any agreements                     in the
 1              package.
 2
                                              VII
 3
                    AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE
 4                        SOUTHERN DISTRICT OF CALIFORNIA

 5         This plea agreement is limited to the United States Attorney's

 6 Office for the Southern District of California,                    and cannot bind any

 7   other authorities in any type of matter, although the Government will

 8   bring this plea agreement to the attention of other authorities                      if

 9   requested by Defendant.

10                                            VIII

11                       APPLICABILITY OF SENTENCING GUIDELINES

12         The sentence imposed will be based on the factors set forth in 18

13   U.S.C. § 3553(a). In imposing the sentence, the sentencing judge must

14   consult the United States Sentencing Guidelines                (Guidelines)   and take

15   them into account. Defendant has discussed the Guidelines with defense

16   counsel   and understands      that   the    Guidelines    are   only advisory,     not

17   mandatory. The Court may impose a sentence more severe or less severe

18   than otherwise applicable under the Guidelines,                up to the maximum in

19   the statute of conviction. The sentence cannot be determined until a

20   presentence report is prepared by the U.S. Probation Office and defense

21   counsel and the Government have an opportunity to review and challenge

22   the   presentence    report.   Nothing      in   this   plea   agreement   limits   the

23   Government's duty to provide complete aRd accurate facts to the district

24   court and the U.S. Probation Office.

25   II
26   II
27   //

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 1                                         IX

 2                     SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

 3         This plea agreement is made pursuant to Federal Rule of Criminal

 4   Procedure 11 (c) (1) (B). The sentence is within the sole discretion of

 5   the sentencing judge who may impose the maximum sentence provided by

 6   statute.    It is uncertain at this time what Defendant's sentence will

 7   be.   The Government has not made and will not make any representation

 8   about what sentence Defendant will receive. Any estimate of the probable

 9   sentence by defense counsel is not a promise and is not binding on the

10   Court. Any recommendation by the Government at sentencing also is not

11   binding on the Court.      If the sentencing judge does not follow any of

12   the parties'      sentencing recommendations,   Defendant will not withdraw

13   the plea.

14                                          X

15                        PARTIES' SENTENCING RECOMMENDATIONS

16         A.     SENTENCING GUIDELINE CALCULATIONS

17         Although the Guidelines are only advisory and just one factor the

18   Court will consider under 18 U.S.C. § 3553(a)        in imposing a sentence,

19   the parties will jointly recommend the following Base Offense Level,

20   Specific Offense Characteristics, Adjustments, and Departures:

21                1.    Base Offense Level§ 2Bl.1                          6
                  2.    Dismissed and uncharged conduct                  +10
22                      [§5K2.21]
                  3.    Acceptance of Responsibility [§ 3El.1]            -2
23
           B.     ACCEPTANCE OF RESPONSIBILITY
24
           Despite paragraph A above,     the Government need not recommend an
25
     adjustment    for Acceptance of Responsibility if Defendant engages           in
26
     conduct inconsistent with acceptance of responsibility including, but
27
     not limited to, the following:
28

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 1                     1.     Fails to truthfully admit a                 complete factual basis as

 2                            stated in the plea at the time the plea is entered,                          or

 3                            falsely denies, or makes a statement inconsistent with,

 4                           the factual basis set forth in this agreement;

 5                     2.    Falsely denies prior criminal conduct or convictions;

 6                     3.    Is       untruthful       with    the       Government,      the    Court     or

 7                           probation officer; or

 8                     4.    Breaches this plea agreement in any way.

 9           C.        FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS INCLUDING THOSE
                       UNDER 18 U.S.C. § 3553
10
             Defendant          may      request        or     recommend         additional          downward
11
     adjustments,           departures,        or variances        from the Sentencing Guidelines
12
     under        18   U.S.C.     §    3553.    The    Government         will   oppose    any       downward
13
     adjustments,           departures,        or   variances      not     set   forth    in    Section    X,
14
     paragraph A above.
15
             D.        NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY
16
             The parties have no agreement as to Defendant's Criminal History
17
     Category.
18
             E.        "FACTUAL BASIS" AND "RELEVANT CONDUCT" INFORMATION
19
             The facts in the "factual basis" paragraph of this agreement are
20
     true and may be considered as "relevant conduct" under USSG § lBl.3 and
21
     as     the    nature       and    circumstances          of   the    offense      under    18    U.S.C.
22
     §    3553 (a) (1).
23
             F.        PARTIES' RECOMMENDATIONS REGARDING CUSTODY
24
             The Government will recommend that Defendant be sentenced within
25
     the     advisory        guideline         range    recommended         by    the     Government      at
26
     sentencing.
27

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 1           G.    SPECIAL ASSESSMENT/FINE/RESTITUTION/FORFEITURE

 2                 1.     Special Assessment

 3           The parties will jointly recommend that Defendant pay a special

 4   assessment in the amount of $100. 00 per felony count of conviction.

 5   Special assessments shall be paid through the office of the Clerk of

 6   the    District     Court    by bank or        cashier's            check or money            order made

 7   payable to the "Clerk, United States District Court."

 8                 2.     Fine

 9           The Government will recommend that                     Defendant pay a             fine   in the

10   amount of $50,000 payable forthwith through the Office of the Clerk of

11   the    District     Court    by bank or        cashier's            check or money            order made

12   payable to the "Clerk, United States District Court."

13           H.    SUPERVISED RELEASE

14           If the Court imposes a term of supervised release, Defendant will

15   not seek to reduce or terminate early the term of supervised release

16   until    Defendant     has    served at       least         2/3     of    the    term of      supervised

17   release and has fully paid and satisfied any special assessments, fine,

18   criminal forfeiture judgment, and restitution judgment.

19                                                   XI

20                      DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

21           Defendant     waives        (gives    up)       all         rights       to    appeal     and    to

22   collaterally        attack    every       aspect       of     the     conviction        and     sentence,

23   including any restitution order up to $21,725,604.56 and any forfeiture

24   judgment     up to    the    same    amount.           This    waiver          includes,   but    is    not

25   limited to, any argument that the statute of conviction or Defendant's

26   prosecution is unconstitutional and any argument that the facts of this

27   case    do   not    constitute      the    crime       charged.          The    only   exceptions       are

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     Plea Agreement
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 1   1) Defendant may appeal a custodial sentence above the high end of the

 2   guideline range recommended by the Government at sentencing                  (if USSG

 3   § 5Gl.l(b)    applies,    the high end of the range will be the statutorily

 4   required mandatory minimum sentence), and 2)            Defendant may collaterally

 5   attack the conviction or sentence on the basis that Defendant received

 6   ineffective assistance of counsel. If Defendant appeals, the Government

 7   may   support     on   appeal   the   sentence    or   restitution   order   actually

 8   imposed.

 9                                             XII

10                              BREACH OF THE PLEA AGREEMENT

11         Defendant and Defendant's attorney know the terms of this agreement

12   and shall raise, before the sentencing hearing is complete, any claim

13   that the Government has not complied with this agreement.                Otherwise,

14   such claims shall be deemed waived              (that is,   deliberately not raised

15   despite awareness that the claim could be raised), cannot later be made

16   to any court,      and if later made to a court,         shall constitute a breach

17   of this agreement.

18         Defendant breaches this agreement if Defendant violates or fails

19   to perform any obligation under this agreement. The following are non-

20   exhaustive examples of acts constituting a breach:

21                1.    Failing to plead guilty pursuant to this agreement;

22                2.    Failing to fully accept responsibility as established in

23                      Section X, paragraph B, above;

24                3.    Failing to appear in court;

25                4.    Attempting to withdraw the plea;

26                5.    Failing to abide by any court order related to this case;

27

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     Plea Agreement
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 1                 6.    Appealing (which occurs if a notice of appeal is filed)

 2                        or collaterally attacking the conviction or sentence in

 3                       violation of Section XI of this plea agreement; or

 4                 7.    Engaging in additional criminal conduct from the time of

 5                       arrest until the time of sentencing.

 6           If Defendant breaches this plea agreement,                      Defendant will not be

 7   able to enforce any provisions, and the Government will be relieved of

 8   all     its   obligations     under       this    plea       agreement.      For    example,         the

 9   Government may proceed to sentencing but recommend a different sentence

10   than what it agreed to recommend above.                      Or the Government may pursue

11   any     charges    including      those     that      were     dismissed,      promised         to    be

12   dismissed, or not filed as a result of this agreement (Defendant agrees

13   that    any statute of       limitations         relating to          such   charges     is    tolled

14   indefinitely as of the date all parties have signed this agreement;

15   Defendant also waives any double jeopardy defense to such charges). In

16   addition, the Government may move to set aside Defendant's guilty plea.

17   Defendant may not withdraw the guilty plea based on the Government's

18   pursuit of remedies for Defendant's breach.

19           Additionally,      if Defendant breaches this plea agreement:                         (i)    any

20   statements made by Defendant,              under oath,         at the guilty plea hearing

21   (before either a Magistrate Judge or a District Judge);                        (ii) the factual

22   basis    statement    in    Section       II.Bin       this     agreement;         and   (iii)       any

23   evidence derived from such statements, are admissible against Defendant

24   in any prosecution of, or any action against, Defendant. This includes

25   the    prosecution    of    the   charge ( s)      that   is    the    subject      of   this       plea

26   agreement or any charge(s)            that the prosecution agreed to dismiss or

27   not    file   as part of this       agreement,         but later pursues because of a

28

     Plea Agreement
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 1   breach      by     the   Defendant.       Additionally,        Defendant         knowingly,

 2   voluntarily, and intelligently waives any argument that the statements

 3   and any evidence derived from the                statements should be        suppressed,

 4   cannot be used by the Government, or are inadmissible under the United

 5   States Constitution,       any statute,         Rule   410   of the Federal Rules of

 6   Evidence,     Rule ll(f)   of the Federal Rules of Criminal Procedure,                                    and

 7   any other federal rule.
 8                                             XIII

 9                         CONTENTS AND MODIFICATION OF AGREEMENT

10         This    plea    agreement    embodies      the   entire agreement     between the

11   parties      and   supersedes     any   other    agreement,     written    or        oral.                  No

12   modification of this plea agreement shall be effective unless in writing

13   signed by all parties.

14                                              XIV

15                    DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT

16         By signing this agreement, Defendant certifies that Defendant has

17   read it     (or that it has been read to Defendant in Defendant's native

18   language) .      Defendant has discussed the terms of this agreement with

19   defense counsel and fully understands its meaning and effect.

20   II
21   II
22   II
23   II
24   II
25   II
26   II
27   II
28
                                                 12
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 1                                                 xv
 2                                  DEFENDANT SATISFIED WITH COUNSEL

 3           Defendant       has     consulted   with   counsel   and    is   satisfied    with

 4   counsel's representation. This is Defendant's independent opinion, and

 5   Defendant's counsel did not advise Defendant about what to say in this

 6   regard.
                                                    RANDY S. GROSSMAN
 7                                                  United States Attorney

 8               ,
 9
                 ~   ( ~:+- ( 1-1                   VALERIE H. CHU
     DATED
                                                    Assistant U.S. Attorney
10
     DATED                                          CHRISTOPHER ALEXANDER
11                                                  Assistant U.S. Attorne

12

13
        ro~J'W;                                     ~--/4/
                                                    KEITH RUTMAN~
     DATE
                                                    Defense Counsel
14
     IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER
15   PENALTY OF PERJURY THAT THE FACTS IN THE "FACTUAL BASIS" SECTION ABOVE
     ARE TRUE.
16

17
     DATEB                                          ANTHONY BELL, JR.
18                                                  Defendant

19

20   Approved By:
            4!       /


~~g~ As2:stant U.S. Attorney
23

24

25

26

27

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     Plea Agreement
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